Case 1:20-cv-02110-SKC Document 1 Filed 07/20/20 USDC Colorado Page 1 of 11




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-2110

ADAM C. GOETSCH, an individual,

Plaintiff,

v.

X BAR FLY, INC., a Colorado corporation, dba Sato,
DOWNTOWN BROWN, a Colorado limited liability company, dba Café 163, and
PETER TILDEN MUELLER, an individual,

Defendants.


                                       COMPLAINT


        Plaintiff, Adam C. Goetsch, by and through undersigned counsel, complains as

follows:

                                NATURE OF THE ACTION

1.      Plaintiff alleges Defendants violated the Fair Labor Standards Act (“FLSA”),

29 U.S.C. §§ 201 et seq., the applicable Colorado Minimum Wage Order (“CMWO”),

7 Colo. Code Regs. §1103-1 for each year of his employment, and the Colorado

Minimum Wage Act (“CMWA”), Colo. Rev. Stat. § 8-6-118, by failing to pay him all

earned overtime compensation at the proper rates of pay. Plaintiff also demands

Defendants pay him all of his earned but unpaid wages, pursuant to the Colorado

Wage Claim Act (“CWCA”), Colo. Rev. Stat. § 8-4-109.




                                            -1-
Case 1:20-cv-02110-SKC Document 1 Filed 07/20/20 USDC Colorado Page 2 of 11




                              JURISDICTION AND VENUE

2.     Jurisdiction over Plaintiff’s FLSA claims is based upon 29 U.S.C. § 216(b) and

28 U.S.C. § 1331.

3.     Jurisdiction over Plaintiff’s state law claim is based upon 28 U.S.C. § 1367

because they are so related to his FLSA claims that they form part of the same case or

controversy.

4.     Defendants are subject to personal jurisdiction in Colorado because they

conduct substantial business in this state and the acts and omissions alleged herein

occurred in this state.

5.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the events

or omissions giving rise to the claims occurred in this District.

                                      THE PARTIES

6.     Plaintiff Adam C. Goetsch (“Goetsch”) was, at all relevant times, an adult

individual residing in Avon, Colorado.

7.     Goetsch was employed by Defendant X BAR FLY, INC., dba Sato (hereinafter

“Sato Sushi”), which operates Sato Sushi restaurant located in Edwards, Colorado.

8.     Goetsch was also employed by Defendant DOWNTOWN BROWN, dba Café

163 (hereinafter “Café 163), which operates Café 163 restaurant located in Edwards,

Colorado

9.     Defendant PETER TILDEN MUELLER (hereinafter “Mueller”) is the registered

agent for both Sato Sushi and Café 163.




                                             -2-
Case 1:20-cv-02110-SKC Document 1 Filed 07/20/20 USDC Colorado Page 3 of 11




10.   Upon information and belief, Mueller is the primary owner and operator of both

Sato Sushi and Café 163.

11.   Goetsch alleges that Mueller is an “employer” within the meaning of the FLSA,

29 U.S.C. § 203(d).

                               STATEMENT OF FACTS

12.   Sato Sushi is a sushi restaurant in Edwards, Colorado. It is open for dinner from

5 p.m. until close, Wednesday through Sunday.

13.   Café 163 is the “sister” restaurant to Sato Sushi.

14.   Café 163 is open for breakfast and lunch, from 8 a.m. to 2 p.m., Wednesday

through Sunday.

15.   In July, the busiest part of the year in the Vail Valley, both restaurants are open

and operate seven days per week.

16.   Defendants employed Goetsch as a cook from May 28, 2018 through September

2019, and again from January to February 2020.

17.   Sato Sushi and Café 163 shared kitchen staff and management.

18.   The restaurants jointly employed three cooks (including Goetsch) who operated

both kitchens day and night.

19.   In 2018, the two restaurants were located immediately adjacent to each other in

separate spaces. Café 163 was located in 105 Edwards Village Blvd, unit D, while Sato

Sushi was located at the same address, unit E.

20.   In 2019, the restaurants combined operations and into the expanded Café 163

location, which now encompasses 105 Edwards Village Blvd, D-101 and D-103.


                                           -3-
Case 1:20-cv-02110-SKC Document 1 Filed 07/20/20 USDC Colorado Page 4 of 11




21.   Thereafter, both restaurants were supported from the same single kitchen, in

which Goetsch worked.

22.   Before the restaurants combined, Goetsch would often perform work duties for

Café 163 while physically working at the Sato Sushi restaurant, and vice versa.

23.   Customers visiting Sato Sushi’s website, http://satosushiedwards.com, find links

to the menus for both “Sato Menu” and “Café 163 Menu”.

24.   Customers visiting Café 163’s website, http://cafe163.com, find links for “Café

Takeout” and “Sato Takeout”.

25.   Both restaurants have the same mailing address, P.O. Box 2235, Edwards, CO

81632.

26.   Both restaurants share the same retail liquor license issued by the Colorado

Department of Revenue, Liquor Enforcement Division, and authorized by Eagle County.

On December 19, 2019, Mueller submitted and signed the renewal application for this

license. On that application, he listed the licensee name as “Downtown Brown LLC”,

and listed the “doing business as name” as “Café 163 and Sato”. Mueller listed his title

as “Owner”.

27.   Upon information and belief, at all relevant times, Sato Sushi has had gross

volume of sales of at least $500,000 annually.

28.   Upon information and belief, at all relevant times, Café 163 has had gross

volume of sales of at least $500,000 annually.

29.   Mueller personally hires and fires all employees for both restaurants.




                                           -4-
Case 1:20-cv-02110-SKC Document 1 Filed 07/20/20 USDC Colorado Page 5 of 11




30.    Mueller personally managed the work schedule for both restaurants’ kitchen

staff, including Goetsch.

31.    At Sato Sushi, Goetsch was supervised directly by Mueller, or in Mueller’s

absence, the executive chef Ted (last name unknown).

32.    At Café 163, Goetsch was supervised by Mueller, or in Mueller’s absence, the

AM Manager, Annie (last name unknown).

33.    During his employment, Goetsch recorded his hours worked for each restaurant

on separate time clocks.

34.    Goetsch received separate paychecks from each restaurant.

35.    Throughout his employment, the combined number of hours Goetsch worked at

both restaurants nearly always exceeded 40 hours per week.

36.    During his employment, the combined number of hours Goetsch worked at both

restaurants sometimes exceeded 12 hours in a single workday.

37.    When Goetsch worked more than 40 hours per week at one restaurant, that

restaurant paid him some amount of overtime for the hours he worked at that

restaurant.

38.    However, Defendants never paid Goetsch overtime compensation for hours

worked more than 40 hours per work week, based on the total combined number of

hours he worked for both restaurants.

39.    Defendants also never paid Goetsch overtime compensation for hours worked

more than 12 hours in a single work day, based on the total combined number of hours

he worked for both restaurants.



                                           -5-
Case 1:20-cv-02110-SKC Document 1 Filed 07/20/20 USDC Colorado Page 6 of 11




40.   In addition, upon information and belief, on several occasions, Goetsch worked

more hours than were recorded on his pay stub, i.e. the hours recorded on his time

clock slips did not match the hours worked as reported on his pay stub.

41.   In approximately February 2020, Goetsch filed a complaint with the Colorado

Department of Labor & Employment, in which he alleged he had earned but not been

paid for overtime based on the combined hours he worked at both restaurants

throughout his employment.

42.   Upon information and belief, the Department served a copy of Goetsch’s wage

complaint on Sato Sushi and Café 163.

43.   Sato Sushi and Café 163 did not tender payment of any amount to Goetsch

within 14 days of the date the Department sent them Goetsch’s wage

complaint/demand.

44.   Pursuant to Colo. Rev. Stat. §§ 8-4-101(15) and 8-4-109(3)(a), this Complaint

constitutes a written demand for wages. Goetsch hereby demands that Sato Sushi and

Café 163 pay him all amounts of his earned but unpaid wages, including but not limited

to the unpaid overtime compensation to which he is entitled due to Defendants’

operation of both restaurants as a single integrated enterprise.

           FIRST CLAIM FOR RELIEF - FAIR LABOR STANDARDS ACT
              AGAINST DEFENDANTS SATO SUSHI AND CAFÉ 163

45.   Goetsch incorporates by reference all preceding paragraphs of this Complaint.

46.   At all relevant times, Sato Sushi and Café 163 have been, and continue to be,

"employers" within the meaning of the FLSA.



                                           -6-
Case 1:20-cv-02110-SKC Document 1 Filed 07/20/20 USDC Colorado Page 7 of 11




47.    At all relevant times, Sato Sushi and Café 163 were each an enterprise engaged

in interstate "commerce" and/or in the production of "goods" for "commerce" within the

meaning of the FLSA.

48.    While employed by Sato Sushi and Café 163, Goetsch was engaged in

commerce or in the production of goods for commerce within the meaning of the FLSA.

49.    Because of the combination of their operations and their common ownership and

management, Sato Sushi and Café 163 were, at all relevant times, a single integrated

enterprise. As a result, all of the hours that Goetsch worked were for that single

integrated enterprise, for which the FLSA required payment of overtime compensation

for all hours that Goetsch worked over 40 hours per work week – based on the

combined number of hours he worked for both restaurants.

50.    As a result of the foregoing conduct, as alleged, Sato Sushi and Café 163 have

violated, and continue to violate, the FLSA, 29 U.S.C. § 201, et seq.

51.    Sato Sushi and Café 163 committed these violations knowingly, willfully, and

with reckless disregard of applicable law.

52.    The foregoing conduct, as alleged, constitute willful violations of the FLSA within

the meaning 29 U.S.C. § 255(a).

53.    As a result, Goetsch is entitled to recover from Sato Sushi and Café 163 all

unpaid regular and overtime compensation, plus actual and liquidated damages,

including the employer’s share of FICA, FUTA, state unemployment insurance, and any




                                             -7-
Case 1:20-cv-02110-SKC Document 1 Filed 07/20/20 USDC Colorado Page 8 of 11




other required employment taxes, reasonable attorneys’ fees, costs, and

disbursements of this action, pursuant to 29 U.S.C. § 216(b).

                      SECOND CLAIM FOR RELIEF
       FAIR LABOR STANDARDS ACT – AGAINST DEFENDANT MUELLER

54.    Goetsch incorporates by reference all preceding paragraphs of this Complaint.

55.    As the Owner of Sato Sushi and Café 163, Mueller had direct responsibility for

the day-to-day business of both restaurants. This included supervising Goetsch’s work

schedules, controlling the terms and conditions of his employment, determining the rate

and method of payment of Goetsch’s wages, and maintaining employment records.

56.    Mueller implemented the restaurants’ separate time clocks and payroll practices

in order to avoid or otherwise minimize the overtime compensation he was required by

law to pay his employees, including Goetsch.

57.    Mueller thereby acted directly and indirectly in the interests of Sato Sushi and

Café 163 as employers, and in the interest of both restaurants as a single integrated

enterprise, in relation to Goetsch. At all relevant times, Mueller was thus an “employer”

within the meaning of the FLSA, 29 U.S.C. § 203(d).

58.    As a result of the foregoing conduct, as alleged, Mueller violated the FLSA,

29 U.S.C. § 201, et seq.

59.    Mueller committed these actions knowingly, willfully, and with reckless disregard

of applicable law. This conduct, as alleged, constitutes willful violations of the FLSA

within the meaning 29 U.S.C. § 255(a).




                                            -8-
Case 1:20-cv-02110-SKC Document 1 Filed 07/20/20 USDC Colorado Page 9 of 11




60.    As a result, Goetsch is entitled to recover from Mueller all unpaid regular and

overtime compensation, plus actual and liquidated damages, including the employer’s

share of FICA, FUTA, state unemployment insurance, and any other required

employment taxes, reasonable attorneys’ fees, costs, and disbursements of this action,

pursuant to 29 U.S.C. § 216(b).

                       THIRD CLAIM FOR RELIEF
      COLORADO MINIMUM WAGE ACT AGAINST SATO SUSHI AND CAFÉ 163

61.    Goetsch incorporates by reference all preceding paragraphs of this Complaint.

62.    At all relevant times, Sato Sushi and Café 163 were food and beverage

enterprises covered by and required to comply with the applicable CMWO, 7 Colo.

Code Regs § 1103-1, paragraph 2(C).

63.    Sato Sushi and Café 163, as a single integrated enterprise, failed to pay

Goetsch at the overtime pay rate for all hours he worked in excess of 40 hours per

workweek, based on the combined number of hours he worked at both restaurants.

64.    Sato Sushi and Café 163, as a single integrated enterprise, failed to pay

Goetsch at the overtime pay rate for all hours he worked in excess of 12 hours in a

single work day, based on the combined number of hours he worked at both

restaurants.

65.    Sato Sushi and Café 163 thereby willfully violated paragraph 4 of the applicable

CMWO for each year of Goetsch’s employment.

66.    Goetsch brings this action to to recover the unpaid balance of the full amount of

minimum wages, including earned but unpaid overtime wages, pursuant to



                                            -9-
Case 1:20-cv-02110-SKC Document 1 Filed 07/20/20 USDC Colorado Page 10 of 11




paragraph 18 of the applicable CWMO for each year of Goetsch’s employment, and

Colo. Rev. Stat. § 8-4-118.

      FOURTH CLAIM FOR RELIEF – COLORADO WAGE CLAIM ACT (CWCA)

67.    Goetsch incorporates by reference all preceding paragraphs of this Complaint

68.    Sato Sushi and Café 163 are both “employers” required to comply with the

CWCA, Colo. Rev. Stat. § 8-4-101(6).

69.    Sato Sushi and Café 163 did not tender payment of Goetsch’s earned but unpaid

wages within 14 days of the date Goetsch’s written demand was sent.

70.    Sato Sushi and Café 163 thereby willfully violated the CWCA, and are liable to

Goetsch for the penalties prescribed by the statute, in amounts to be determined at trial.

                                PRAYER FOR RELIEF

WHEREFORE, Goetsch respectfully requests that this Court grant the following relief:

       a.      An award of regular compensation due him pursuant to the FLSA,

       CMWO/CMWA, and CWCA;

       b.      An award of overtime compensation due him pursuant to the FLSA,

       CMWO/CMWA, and CWCA;

       c.      An award of liquidated and/or punitive damages as a result of the

       Defendants’ willful failure to pay him all regular and overtime compensation

       pursuant to the FLSA, 29 U.S.C. § 216;

       d.      An award of penalties prescribed by the CWCA for Defendants’ willful

       failure to pay his earned wages;

       e.      An award of pre-judgment and post-judgment interest;


                                           -10-
Case 1:20-cv-02110-SKC Document 1 Filed 07/20/20 USDC Colorado Page 11 of 11




      f.       An award of costs and expenses of this action together with reasonable

      attorneys’ and expert fees; and

      g.       Such other and further relief as this Court deems just and proper.

Respectfully submitted this 20th day of July, 2020.

                                         GARY KRAMER LAW, LLC

                                         /s Gary M. Kramer
                                         Gary M. Kramer
                                         1465 Kelly Johnson Blvd, Suite 210
                                         Colorado Springs, CO 80920
                                         Tel: 719-694-2783
                                         Fax: 719-452-3622
                                         Email: gary@garykramerlaw.com
                                         Attorney for Plaintiff Adam C. Goetsch

                             CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of July, 2020, I electronically filed the
 foregoing COMPLAINT with the Clerk of the Court using the Court’s CM/ECF system.

                                         /s Gary M. Kramer
                                         Gary M. Kramer




                                           -11-
